                                 OPINION
On July 29, 1992, appellant, John D. Crawford, Jr., pleaded guilty to two counts of gross sexual imposition, in violation of R.C. 2907.05. He was subsequently sentenced by the Lake County Court of Common Pleas to serve an indefinite term of incarceration of two to ten years on each count, each count to run concurrently. In a judgment entry filed August 28, 1997, the trial court adjudicated appellant to be a sexual predator pursuant to Ohio's version of Megan's Law, recently amended R.C. Chapter 2950.
Appellant timely appealed, asserting that Ohio's version of Megan's Law is unconstitutional. Pursuant to this court's decision in State v. Williams (Jan. 29, 1999), Lake App. No. 97-L-191, unreported, R.C. Chapter 2950 as applied to sexual "predators" is unconstitutional and void in its entirety; therefore, the judgment of the trial court is reversed and remanded for proceedings consistent with this opinion.
JUDGE ROBERT A. NADER
FORD, P.J.,
O'NEILL, J., concur.